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 7                                 UNITED STATES DISTRICT COURT
 8                                EASTERN DISTRICT OF CALIFORNIA
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10   UNITED STATES OF AMERICA,
11                  Plaintiff,                              No. CR.S-09-0193 FCD
12          v.
13   FRANK PAUL TURNER, JR,                                 RELATED CASE ORDER
     LESLIE MILLER BELL, JR., and
14   ANTHONY BERNARD WILSON,
15               Defendants.
     ________________________________/
16
     UNITED STATES OF AMERICA,
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                    Plaintiff,                              No. CR.S-09-0194 WBS
18
            v.
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     CESAR FIGUEROA, JR., and
20   MARCUS WILLIAMS,
21               Defendants.
     ________________________________/
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            Examination of the above-entitled actions reveals that they are related within the meaning
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     of Local Rule 83-123(a) (E.D. Cal. 1997). The actions arise from the same on-going law
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     enforcement investigation, share common legal issues, and involve the same parties, and would
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     therefore entail a substantial duplication of labor if heard by different judges.
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            Accordingly, the assignment of the matters to the same judge is likely to effect a
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     substantial savings of judicial effort and is also likely to be convenient for the parties.
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               Case 2:09-cr-00193-KJM Document 21 Filed 04/29/09 Page 2 of 2


 1          The parties should be aware that relating the cases under Local Rule 83-123 merely has
 2   the result that these actions are assigned to the same judge; no consolidation of the actions is
 3   effected. Under the regular practice of this court, related cases are generally assigned to the
 4   judge and magistrate judge to whom the first filed action was assigned.
 5          IT IS THEREFORE ORDERED that the action denominated, CR.S-09-0194 is
 6   reassigned to Judge Frank C. Damrell, Jr. for all further proceedings, and any dates currently set
 7   in the reassigned case only are hereby VACATED. Henceforth, the caption on documents filed
 8   in the reassigned case shall be shown as CR. S-09-0194 FCD.
 9          IT IS FURTHER ORDERED that the Clerk of Court make appropriate adjustment in the
10   assignment of criminal cases to compensate for this reassignment.
11          IT IS SO ORDERED.
12   DATED: April 28, 2009
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14                                                  _______________________________________
                                                    FRANK C. DAMRELL, JR.
15                                                  UNITED STATES DISTRICT JUDGE
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